









MEMORANDUM OPINION



No. 04-08-00155-CR



Keith HYSAW a/k/a Wesley Watts,


Appellant



v.



The STATE of Texas,


Appellee



From the 399th Judicial District Court, Bexar County, Texas


Trial Court No. 2006-CR-7200


Honorable Juanita A. Vasquez-Gardner, Judge Presiding



PER CURIAM


Sitting: 	Catherine Stone, Justice

	Karen Angelini, Justice

	Sandee Bryan Marion, Justice


Delivered and Filed:   May 14, 2008


DISMISSED

	The trial court's certification in this appeal states that the case is a "plea-bargain case, and
the defendant has NO right of appeal."  Rule 25.2(d) of the Texas Rules of Appellate Procedure
provides, "[t]he appeal must be dismissed if a certification that shows the defendant has a right of
appeal has not been made part of the record under these rules."  Tex. R. App. P. 25.2(d).  On May
1, 2008, appellant's appellate counsel notified this court that appellant does not have a right to appeal
in this case.  Counsel further indicated that appellant would not file an amended trial court
certification showing that he has the right of appeal.  See Tex. R. App. P. 25.2(d); 37.1; see also
Daniels v. State, 110 S.W.3d 174, 177 (Tex. App.--San Antonio 2003, no pet.).  In light of the
record presented, we agree with appellant's counsel that Rule 25.2(d) requires this court to dismiss
this appeal.  Accordingly, this appeal is dismissed.


							PER CURIAM

DO NOT PUBLISH






